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UNITED STATES DISTR|CT COURT

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-v- 04-20193-01-Ma W"'%’§”SN*'S*T§W~D
rio of '*"`1
MAunlcE GlPsoN ‘“"":M
Ma[y Catherine ,lermannl FPD
Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1 , 1987)

The defendant pleaded guilty to Count 1 of the indictment on December 07, 2004. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & Section Nature of ense §onc|uded Number(s)
18 U.S.C. § 922(9) Felon in possession of a firearm 04/22/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Ftestitution Act of 1996.

|T lS FURTHEFt ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 11/22/1964 Ju|y 12, 2005
Deft’s U.S. Marshal No.: 19746-076

Defendant’s Fiesidence Address:
461 Carpenter
Memphis, TN 38112

SAN|UEL H. N|AYS, JR.
UN|TED STATES D|STR|CT JUDGE

8'
July ' , 2005

 

This docL ment entered on the docket sheet in mpllance
with Flule 55 and/or 32!bi FFiCrP on -LM" ` viz

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\Defendant Name: Maurice Gipson Page 2 of 5

lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of ninety-six (96) months.

The Court recommends to the Bureau of Prisons:

That defendant be designated to serve his term of imprisonment at a facility where
he can participate in a drug abuse treatment program.

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Nlarshal

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\Defendant Name: Maurice Gipson Page 3 of 5

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two (2) years.

The_ defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court cr probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use cf alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

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\Defendant Name: Maurice Gipson Page 4 of 5

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement tc act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notificaticns and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of F’ayments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall participate as directed in a program of mental health treatment
approved by the Probation Officer. Further, the defendant shall be required to contribute to
the costs of services for such treatment not to exceed an amount determined reasonable
by the Probation Officer based on ability to pay or availability of third party payment and in
conformance with the Probation Office's Siiding Scaie for Mental Hea|th Treatment Servioes.

3. The defendant shall no possess firearms, ammunition, explosives or any other dangerous
weapons.

4. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 

Total Assessment Total Fine Tota| Restitution
$100.00

The Speclal Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:04-CR-20193 Was distributed by faX, mail, or direct printing on
.iuly 21, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Katrina U. Eariey

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

